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given as a result of inaction by such Applicant) to any amendment or modification
of any Commercial License that would have the practical effect of expanding the
scope or the term of the licenses under the Transferred Patents, Specified UK
Patents or Jointly Owned Patents thereunder except (i) to the extent such licenses,
as amended or modified, would be permitted to be granted under the Closing Date
License Agreement or (ii) to the extent the Purchaser shall otherwise agree in

writing, in its sole discretion,

(f) the Applicants shall be deemed to have affirmatively and reasonably refused to
give consent (including any consent of any Applicant that may be deemed to be
given as a result of inaction by such Applicant) (i) to any amendment or
modification of any Intercompany License that would have the practical effect of
expanding the scope or the term of the licenses under the Transferred Patents,
Specified UK Patents or Jointly Owned Patents thereunder except to the extent
such licenses, as amended or modified, would be permitted to be granted under
the Closing Date License Agreement, and (ii) to any assignment of any
Intercompany License by the license counterparty or any rights or obligations of
the license counterparty under any Intercompany License, in each case, unless the

Purchaser shall otherwise agree in writing, in its sole discretion,

(g) no Applicant shall have the right or power to transfer any of its obligations, right,
title or interest in the licenses under the Transferred Patents, Specified UK Patents

and Jointly Owned Patents under:

@) any License Agreement,
(ii) the GDNT License,
(iii) | any Intercompany License,

(iv) (other than in connection with the consolidation, wind-down,
reorganization or restructuring of the Applicants and their affiliates,
including to the Applicants under confirmed plan(s) of arrangement) any
IPLA, or

(v) (other than the transfer by the Applicants of Retained Contracts or
contracts relating to the disposal of Inventory, in each case to the extent a

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sublicense to the assignee of such contract is permitted by the Closing
Date License Agreement) any Commercial License,

in each case, to any other person from and after the Closing, and any purported renewal,
extension, assignment, amendment, waiver, transfer or modification of a License
Agreement, Intercompany License, TSA, IPLA, GDNT License or Commercial License
that would contravene the provisions of subparagraphs 14(a) through (g) hereof shall be

null and void ab initio and unenforceable and of no force or effect, and

(h) the Purchaser is hereby irrevocably appointed (such appointment being coupled
with an interest) as each Applicant’s attorney-in-fact, with full authority in the
place and stead of such Applicant and in the name of such Applicant, from time to
time from and after the Closing in the Purchaser’s sole discretion, subject to the
provisions of paragraph 5.25 of the Sale Agreement, (x) to take any and all action
and to execute and deliver any and all instruments that the Purchaser may deem
necessary or advisable to accomplish the purposes of sub-paragraphs 14(a)
through (g) of this Order and (y) regardless of whether or not any Applicant party
to the applicable License Agreement is then in existence, to terminate the license
under the Transferred Patents, Specified UK Patents or Jointly Owned Patents in
any License Agreement (including by delivering a notice of termination on behalf
of an Applicant party thereto, regardless of whether such Applicant is then in
existence) upon the occurrence of any specific date or event or the existence of
any specific circumstance to the extent that the occurrence of such date or event
or the existence of such circumstance gives any Applicant (regardless of whether
such Applicant is then in existence) a right to terminate such License Agreement
pursuant to the terms thereof (the provisions set forth in subparagraphs 14(a)
through (h) hereof collectively, the “License Non-Assignment and Non-Renewal

Protections”).

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For the avoidance of doubt, the License Non-Assignment and Non-Renewal Protections shall not
limit in any way the applicable Applicants’ obligations to comply with the provisions of Section

5.13(b) of the Sale Agreement.

15. | THIS COURT ORDERS that the License Non-Assignment and Non-Renewal Protections
shall not constitute the assignment of the License Agreements, Intercompany Licenses, TSAs,
IPLAs, GDNT License or Commercial Licenses to, or assumption of the License Agreements,
Intercompany Licenses, TSAs, IPLAs, GDNT License or Commercial Licenses by, the
Purchaser, other than as the Purchaser may otherwise agree in an assumption agreement between
the Purchaser and NNL in satisfaction of the requirements of paragraph 7 of the CDMA Vesting
Order.

Alternate Bid

16. (THIS COURT ORDERS AND DECLARES that in the event that the Transaction
contemplated by the Sale Agreement cannot be consummated in accordance with the Sale
Agreement, the Alternate Bid (as defined in the BM Affidavit) be and is hereby approved and
the execution of the asset sale agreement pursuant to the Alternate Bid by the Applicants is
approved and the Applicants and the Monitor shall be authorized to take such additional
steps and execute such additional documents as may be necessary or desirable for the
completion of the transaction contemplated by the Alternate Bid and for the conveyance of

the Applicants’ right, title and interest in and to the Purchased Assets to the Alternative
Bidder. |

Proceeds

17. THIS COURT ORDERS that all the proceeds of the Transaction, subject to the price
adjustments and the Purchaser’s rights under the Sale Agreement and less applicable transfer or
value added taxes incurred by the Sellers, shall be deposited into an Escrow Account (as defined
in the Interim Funding and Settlement Agreement entered into on June 9, 2009 (the “IFA”))
pursuant to an escrow agreement to be negotiated and agreed to by all of the Sellers and in
accordance with Section 12.g of the IFA, and such proceeds shall not be distributed in advance
of either (i) agreement by all of the Selling Debtors (as defined in the IFA) as to the distribution

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of such proceeds (in accordance with the IFA and subject to the requirements of Section 12.g of
the IFA) or (ii) in the case where the Selling Debtors (as defined in the IFA) fail to reach such
agreement, determination by the relevant dispute resolver(s) in accordance with the terms of the
Interim Sales Protocol (as such term is defined in the IFA and subject to the requirements of
Section 12.g of the IFA), which Interim Sales Protocol shall be approved by this Court.

Miscellaneous

18. THIS COURT ORDERS that, notwithstanding:
(a) the pendency of these proceedings;

(b) —_ any applications for a bankruptcy order now or hereafter issued pursuant to the
Bankruptcy and Insolvency Act (Canada) in respect of any of the Applicants and

any bankruptcy order issued pursuant to any such applications; and

(c) any assignment in bankruptcy made in respect of any of the Applicants,

the provisions of the Transaction Documents and the vesting of the Applicants’ right, title and
interest in and to the Purchased Assets in the Purchaser pursuant to this Order shall be binding on
any trustee in bankruptcy that may be appointed in respect of any of the Applicants and shall not
be void or voidable by creditors of the Applicants, nor constitute or be deemed to be a
preference, fraudulent conveyance, transfer at undervalue, or other challengeable or voidable
transaction under the Bankruptcy and Insolvency Act (Canada) or any other applicable federal or
provincial legislation, nor shall it constitute oppressive or unfairly prejudicial conduct pursuant

to any applicable federal or provincial legislation.

19. THIS COURT ORDERS AND DECLARES that neither the Bulk Sales Act (Ontario),
Sections 6(1) and (2) of the Retail Sales Tax Act (Ontario) nor any equivalent or similar

legislation under any province or territory in Canada applies to the Transaction.

20. THIS COURT ORDERS that confidential Appendix “™@”to the M@ Report and Exhibits
@ through @ of the Service Affidavit be and is hereby sealed and shall not form part of the

public record pending further order of the Court.

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21. THIS COURT ORDERS AND DECLARES that, to the extent permitted by law,
neither the Purchaser nor any permitted assignee of the Purchaser pursuant to the Sale
Agreement shall be a successor to any of the Applicants and neither the Purchaser nor any
permitted assignee of the Purchaser pursuant to the Sale Agreement shall assume any liability of
the Applicants or in respect of the Encumbrances, other than as expressly provided for in the
Sale Agreement nor shall any labour, employment or pension claims continue with respect to the

Purchased Assets or be liabilities of the Purchaser.

22. THIS COURT ORDERS AND DECLARES that effective upon Closing,
counterparties to the Unknown Licenses (as defined in the Sales Process Order) that are deemed
to be terminated pursuant to the Sales Process Order shall have no right or claims against the

Purchaser or the Purchased Assets.

23. THIS COURT HEREBY REQUESTS the aid and recognition of any court, tribunal,
regulatory, administrative or governmental body having jurisdiction in Canada, the United
States, the United Kingdom or elsewhere, to give effect to this Order and to assist the Applicants,
the Monitor and their respective agents in carrying out the terms of this Order. All courts,
tribunals, regulatory, administrative or governmental bodies are hereby respectfully requested to
make such orders and to provide such assistance to the Applicants and to the Monitor, as an
officer of this Court, as may be necessary or desirable to give effect to this Order, to grant
representative status to the Monitor in any foreign proceeding, or to assist the Applicants and the

Monitor and their respective agents in carrying out the terms of this Order.

24. THIS COURT ORDERS that each of the Applicants and the Monitor be at liberty and is
hereby authorized and empowered to apply to any court, tribunal, regulatory, administrative or
governmental body, wherever located, for the recognition of this Order and for assistance in

carrying out the terms of this Order.

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Schedule A — Form of Monitor’s Certificate
Court File No.: 09-CL-7950

ONTARIO
SUPERIOR COURT OF JUSTICE
(COMMERCIAL LIST)
IN THE MATTER OF THE COMPANIES’ CREDITORS ARRANGEMENT ACT,
R.S.C, 1985, c. C-36, AS AMENDED

AND IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF
NORTEL NETWORKS CORPORATION, NORTEL NETWORKS LIMITED,
NORTEL NETWORKS GLOBAL CORPORATION, NORTEL NETWORKS
INTERNATIONAL CORPORATION AND NORTEL NETWORKS TECHNOLOGY
CORPORATION

APPLICATION UNDER THE COMPANIES’ CREDITORS ARRANGEMENT ACT,
R.S.C, 1985, c. C-36, AS AMENDED

MONITOR’S CERTIFICATE

RECITALS

A. Pursuant to an Order of the Honourable Justice Morawetz of the Ontario Superior Court
of Justice (the "Court") dated January 14, 2009 (as amended and restated), Nortel Networks
Corporation (“NNC”), Nortel Networks Limited (“NNL”), Nortel Networks Global Corporation,
Nortel Networks International Corporation and Nortel Networks Technology Corporation
(collectively, the “Applicants”) commenced proceedings pursuant to the Companies’ Creditors
Arrangement Act (Canada) and Emst & Young Inc. was appointed as monitor (the “Monitor”) in
these proceedings.

B. Pursuant to an Order of the Court dated HM M™, 201M (the “Approval and Vesting Order’),
the Court approved an asset sale transaction (the “Transaction”) contemplated by an asset sale
agreement dated as of Mi M, 2011 (the “Sale Agreement”) among NNC, NNL, Nortel Networks
Inc., Nortel Networks UK Limited, Nortel Networks (Ireland) Limited, Nortel Networks S.A.,
the other entities identified therein as sellers (collectively, the “Sellers”), Alan Bloom, Stephen
Harris, Alan Hudson, David Hughes and Christopher Hill as Joint Administrators, and Maitre
Cosme Rogeau as French Liquidator, and Ml, as purchaser (“™”’ or the “Purchaser”) and provided
for the vesting in the Purchaser of the Applicants’ right, title and interest in and to the Purchased
Assets (as defined in the Approval and Vesting Order (but excluding any Undisclosed Patent
Interests for which the Purchaser pays the Exercise Price after Closing (the “Closing Date
Assets”)) which vesting is to be effective with respect to the Closing Date Assets upon the
delivery by the Monitor to the Purchaser of a certificate confirming receipt of confirmation from
each of NNC, NNL and the Purchaser that: (i) the Purchaser has paid the Purchase Price for the

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Closing Date Assets as set out in the Sale Agreement; (ii) the conditions to Closing as set out in
Article M@ of the Sale Agreement have been satisfied or waived by the Sellers and/or the
Purchaser, as applicable; and (iii) the Transaction has been completed to the satisfaction of the
Applicants and the Purchaser.

C. Unless otherwise indicated herein, terms with initial capitals have the meanings set out in
the Sale Agreement.

THE MONITOR CERTIFIES the following:

1. NNC, NNL and the Purchaser have advised the Monitor that the Purchaser has paid and
[@] has received the Purchase Price payable for the Closing Date Assets on the Closing Date
pursuant to the terms of the Sale Agreement;

2. NNC, NNL and the Purchaser have advised the Monitor that the conditions to Closing as
set out in Article Ml of the Sale Agreement have been satisfied or waived by the Sellers and/or the
Purchaser, as applicable; and

3. NNC and NNL have advised the Monitor that the Transaction has been completed to the
satisfaction of the Applicants.

4, The Purchaser has advised the Monitor that the Transaction has been completed to the
satisfaction of the Purchaser.

This Certificate was delivered by the Monitor at 0 {TIME} on 0 2011.

ERNST & YOUNG INC. in its capacity as monitor
in the CCAA proceedings of Nortel Networks
Corporation, et. al. and not in its personal capacity

Per:

Name:

Title:

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Court File No. 09-CL-7950

ONTARIO
SUPERIOR COURT OF JUSTICE
COMMERCIAL LIST
THE HONOURABLE MR. ) @ DAY, THE @
)
JUSTICE MORAWETZ ) @ DAY OF @, 2011

IN THE MATTER OF THE COMPANIES' CREDITORS ARRANGEMENT ACT,
R.S.C, 1985, c. C-36, AS AMENDED

AND IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF
NORTEL NETWORKS CORPORATION, NORTEL NETWORKS LIMITED,
NORTEL NETWORKS GLOBAL CORPORATION, NORTEL NETWORKS

INTERNATIONAL CORPORATION AND NORTEL NETWORKS TECHNOLOGY

CORPORATION

APPLICATION UNDER THE COMPANIES' CREDITORS ARRANGEMENT ACT,
R.S.C, 1985, c. C-36, AS AMENDED

ORDER
(Certain Patents and other Assets Bidding Procedures Order)

THIS MOTION, made by Nortel Networks Corporation (“NNC”), Nortel Networks
Limited (“NNL”), Nortel Networks Technology Corporation, Nortel Networks Global
Corporation and Nortel Networks International Corporation (collectively, the “Applicants”) for
the relief set out in the notice of motion dated M Ml, 2011 was heard this day at 393 University

Avenue, Toronto, Ontario.

ON READING the affidavit of HM sworn MW, 2011 (the “@ Affidavit’), the Ml report of
Ernst & Young Inc. dated Hi MH, 2011 (the “™ Report’’) in its capacity as monitor (the “Monitor’)
and on hearing submissions of counsel for the Applicants, the Monitor and those other parties
present, no one appearing for any other person on the service list, although duly served as

appears from the Affidavit of Service of MM sworn Mf M, 2011, filed.

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1. THIS COURT ORDERS that the time for the service of the Notice of Motion, the lJ
Affidavit, the ll Report and/or the Motion Record be and is hereby validated and abridged so that

this Motion is properly returnable today and hereby dispenses with further service thereof.

2. THIS COURT ORDERS that capitalized terms used herein and not otherwise defined
shall have the meaning given to them in the M@ Affidavit.

Bidding Procedures and Stalking Horse ASA

3. THIS COURT ORDERS that the bidding procedures (the “Bidding Procedures”)
described in the @ Affidavit, the li Report and attached as Schedule “A” hereto are hereby
approved and, subject to approval of the Bidding Procedures in substantially the same form by
the United States Bankruptcy Court for the District of Delaware in the Chapter 11 Proceedings of
the U.S. Debtors, the Applicants shall be authorized to conduct the sale process and auction (the

“Stalking Horse Process”) contemplated therein.

4. THIS COURT ORDERS that the asset sale agreement dated as of @ M™, 2011 (the
“Stalking Horse ASA”) among Ranger Inc. as purchaser (the “Stalking Horse Purchaser’’), and
NNC, NNL, Nortel Networks Inc., Nortel Networks UK Limited (in administration), Nortel
Networks (Ireland) Limited (in administration), Nortel Networks S.A. (in administration and
liquidation judiciare), Nortel Networks France S.A.S. (in administration) and Nortel GmbH (in
administration), the other entities identified therein as sellers, Alan Bloom, Stephen Harris, Alan
Hudson, David Hughes and Christopher Hill as Joint Administrators, and Maitre Cosme Rogeau
as French Liquidator, and Google Inc., as guarantor in the form attached as Appendix “A” to the
@ Report be and is hereby approved and the execution, delivery and performance of the Stalking
Horse ASA is hereby approved and accepted for the purposes of conducting the Stalking Horse
Process, including, without limitation, the Applicants’ obligation to pay the Break-Up Fee and
the Expense Reimbursement (as both terms are defined in the Stalking Horse ASA) in

accordance with the terms specified in the Stalking Horse ASA (the “Payment Obligation”),

5. THIS COURT ORDERS that the Notice of Sale substantially in the form set out in
Appendix “ll” to the M™ Report be and is hereby approved and the Applicants (or a person on
behalf of the Applicants) shall serve such Notice of Sale on the Service List and such additional

parties as the Applicants and the Stalking Horse Purchaser have reasonably agreed no later than

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five (5) Business Days following the entry of the Bidding Procedures Order or as soon thereafter

as is reasonably practicable.
6. THIS COURT ORDERS that, notwithstanding:
(a) the pendency of these proceedings;

(b) any applications for a bankruptcy order now or hereafter issued pursuant to the
Bankruptcy and Insolvency Act (Canada) in respect of the Applicants and any

bankruptcy order issued pursuant to any such applications; and

(c) any assignment in bankruptcy made in respect of the Applicants;

the Applicants’ Payment Obligation shall be binding on any trustee in bankruptcy that may be
appointed in respect of any of the Applicants and shall not be void or voidable by creditors of the
Applicants, nor shall it constitute oppressive conduct nor constitute or be deemed to be a
preference, fraudulent conveyance, transfer at undervalue, or other challengeable or voidable
transaction under the Bankruptcy and Insolvency Act (Canada) or any other applicable federal or
provincial legislation, nor shall it constitute oppressive or unfairly prejudicial conduct pursuant

to any applicable federal or provincial legislation.

7. THIS COURT ORDERS that the Applicants’ Payment Obligation shall not be
repudiated, disclaimed or otherwise compromised in these proceedings or any subsequent

receivership, bankruptcy or liquidation proceedings.

License Rejection Procedures

8. THIS COURT ORDERS that the following procedures including the forms of notices

referred to therein (the “Canadian License Rejection Procedures”) are hereby approved:

(a) in conjunction and coordination with the US License Rejection Procedures, the
Applicants (or another a person on behalf of the Applicants) shall serve on each
counterparty to an Outbound License Agreement with the Applicants listed on

Schedule A.I(e) of the Sellers Disclosure Schedules and each counterparty to a

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Cross-License Agreement with the Applicants listed on Schedules A.I.(d) of the
Sellers Disclosure Schedules (such licenses, collectively, the “Known Licenses”,
and such counterparties, collectively, the “Known Licensees”) a notice
substantially in the form attached as Appendix ™ to the B® Report (the “Known
License Notice”), identifying the Known Licenses that such counterparty has
with the Applicants. The Known License Notices shall be served by the
Applicants (or another person on behalf of the Applicants) by no later than five
(5) Business Days following the entry of the Bidding Procedures Order or as soon

thereafter as is reasonably practicable.

(b) the Applicants (or another person on behalf of the Applicants) shall publish a
notice (the “Published License Notice”) of the License Deemed Termination
Procedures described in this paragraph 8, substantially in the form attached as
Appendix M@ to the @ Report, in The Wall Street Journal (National Edition), The
Globe and Mail (National Edition), The Financial Times (International Edition)
and The New York Times (National Edition) within five (5) Business Days of

entry of this Order or as soon thereafter as is reasonably practicable.

(c) any counterparty to any pre-filing Contract pursuant to which any Applicant is a
party and pursuant to which such Applicant has granted a license under any
Transferred Patents, Specified UK Patents or Jointly Owned Patents, other than (i)
the Scheduled Licenses, (ii) the Commercial Licenses, (iii) the Disclosed
Intercompany Licenses (as defined in the Stalking Horse Agreement) and (iv) any
intercompany contract, arrangement or understanding that is not a Disclosed
Intercompany License but that is in effect and that is similar in kind to the
Disclosed Intercompany Licenses (it being understood that any such
intercompany contract, arrangement or understanding that grants license rights
under the Transferred Patents, Specified UK Patents or Jointly Owned Patents that
is broader in scope or longer in duration than the broadest license or longest
license to such patents granted under any of the Disclosed Intercompany Licenses

is not similar in kind to the Disclosed Intereompany Licenses) (any such licenses,

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collectively, the “Unknown Licenses”) who wishes to assert an Unknown License
must serve an objection notice substantially in the form attached as Appendix @
to the M@ Report (an “Objection Notice”) on the parties listed on Schedule “B”
hereto (the “License Objection Notice Parties”), prior to 4 p.m (ET) on June 6,
2011 (the “Canadian License Bar Date”). The Monitor shall post the form of
Objection Notice on its website within two (2) Business Days of the entry of this
Order.

(d) without prejudice, as between the Sellers and the Stalking Horse Purchaser, to the
rights of the Stalking Horse Purchaser under the Stalking Horse ASA, to the
extent that a party asserts an Unknown License prior to the 4:00 p.m. (ET) on the
Canadian License Bar Date (and if so asserted, an “Additional License”), the
Assets shall only be sold subject to such Additional License, provided however
that the validity of the Additional License has been established by Court Order

prior to Closing.

(e) except as provided for in subparagraph (d) above, all Unknown Licenses to which
the Applicants are a party are deemed to be terminated as of the Closing and shall
forever be barred, released and extinguished, and any claim arising from such
deemed termination shall be a claim against the Applicants, which claim shall be
deemed to be a Restructuring Claim as such term is defined in the Claims
Procedure Order granted by the Canadian Court on July 30, 2009, as amended
from time to time, (the “Claims Procedure Order”), must be filed within thirty
(30) days of the date of Closing and otherwise in compliance with the Claims

Procedure Order.

(f) subject to the consent of the Stalking Horse Purchaser, in its sole and absolute
discretion, or any other Successful Bidder, as applicable, the Applicants reserve
their right to not terminate an Unknown License at any time prior to the

occurrence of the Closing.

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Miscellaneous

9. THIS COURT ORDERS that in connection with the Stalking Horse ASA and the
Stalking Horse Process and pursuant to clause 7(3)(c) of the Canada Personal Information
Protection and Electronic Documents Act, the Applicants shall disclose personal information of
identifiable individuals to prospective purchasers or bidders for the Assets and to their advisors,
but only to the extent desirable or required to negotiate and attempt to complete one or more
sales of the Assets (each, a “Sale’’). Each prospective purchaser or bidder to whom such
personal information is disclosed shall maintain and protect the privacy of such information and
limit the use of such information to its evaluation of the Sale, and if it does not complete a Sale,
shall (i) return all such information to the Applicants; (ii) destroy all such information; or (iii) in
the case of such information that is electronically stored, destroy all such information to the
extent it is reasonably practical to do so. The purchaser of the Assets shall be entitled to
continue to use the personal information provided to it, and related to the Assets, in a manner
which is in all material respects identical to the prior use of such information by the Applicants,
and shall (i) return all other personal information to the Applicants; (ii) ensure that all other
personal information is destroyed; or (iii) in the case of all other personal information that is
electronically stored, destroy all such other personal information to the extent it is reasonably

practical to do so.

10. THIS COURT ORDERS that confidential appendix “™@’to the Ml Report be and is
hereby sealed and shall not form part of the public record pending further order of the Court.

11. THIS COURT HEREBY REQUESTS the aid and recognition of any court, tribunal,
regulatory or administrative body having jurisdiction in Canada, the United States, the United
Kingdom or elsewhere, to give effect to this Order and to assist the Applicants, the Monitor and
their respective agents in carrying out the terms of this Order. All courts, tribunals, regulatory,
administrative and governmental bodies are hereby respectfully requested to make such orders
and to provide such assistance to the Applicants and to the Monitor, as an officer of this court, as
may be necessary or desirable to give effect to this Order, to grant representative status to the
Monitor in any foreign proceeding, or to assist the Applicants and the Monitor and their

respective agents in carrying out the terms of this Order.

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12. THIS COURT ORDERS that each of the Applicants and the Monitor be at liberty and is
hereby authorized and empowered to apply to any court, tribunal, regulatory, administrative or

governmental body, wherever located, for the recognition of this Order and for assistance in

carrying out the terms of this Order.

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SCHEDULE “A”
(Bidding Procedures)

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BIDDING PROCEDURES

Set forth below are the bidding procedures (the “Bidding Procedures”) to be employed
with respect to the proposed sale of certain assets and assumption of certain liabilities as set forth
in the Purchase Agreement (as defined below) with respect to the Purchaser, or, as set forth in
the relevant purchase agreement(s) with respect to a Successful Bidder or an Alternate Bidder
(each as defined below) (in each event, the “Sale”). Capitalized terms used but not defined
herein shall have the meanings ascribed to them in the Purchase Agreement.

On [date], Nortel Networks Inc. and certain of its U.S. subsidiaries that are debtors and
debtors-in-possession (collectively, the “U.S. Debtors”), Nortel Networks Limited and certain
other affiliates of the U.S. Debtors that have commenced proceedings under the Canadian
Companies’ Creditors Arrangement Act (the “Canadian Debtors”, together with the U.S. Debtors
and the Canadian Debtors, the “North American Sellers”), certain other affiliates of the North
American Sellers, including Nortel Networks UK Limited (in administration) (‘NNUK”), Nortel
Networks (Ireland) Limited (in administration) (“NN Ireland’’), Norte! Networks S.A. (in
administration and liquidation judiciaire) (“NNSA”), Nortel Networks France S.A.S (in
administration) and Nortel GmbH (in administration) (the “EMEA Sellers” and together with the
North American Sellers, the “Sellers”), certain of which are under the control of Alan Bloom,
Stephen Harris, Chris Hill and Alan Hudson of Ernst & Young LLP, in their capacities as the
joint administrators of those EMEA Sellers appointed by the English High Court of Justice in
connection with the proceedings (the “UK Proceedings”) under the Insolvency Act 1986 and
NN Ireland which is acting by Alan Bloom also and David Hughes of Ernst & Young Chartered
Accountants (such individuals collectively, the “Administrators”), the Administrators and Maitre
Cosme Rogeau appointed as mandataire liquidateur by the Commercial Court of Versailles (the
“French Liquidator’) executed that certain Asset Sale Agreement relating to the sale and
purchase of the Assets with Ranger Inc. (the “Purchaser”’) and Google Inc. (the “Purchase

Agreement”).

The Sellers have determined that: (A) the transactions contemplated by the Purchase
Agreement and the ancillary agreements discussed therein with respect to the Purchaser, or, as
set forth in the relevant sale or purchase agreement(s) and ancillary agreements with respect to a
Successful Bidder (collectively, the Transactions”) should be subject to competitive bidding as
set forth herein; (B) the transfer of the U.S. Debtors’ rights, title and interests in and to the Assets
(as defined below) should be subject to approval by the United States Bankruptcy Court for the
District of Delaware (the “Bankruptcy Court”) pursuant to sections 363 and 365 of title 11 of the
United States Code, 11 U.S.C. §§ 101-1330, as amended (the “Bankruptcy Code”); (C) the
transfer of the rights, title and interests of the Canadian Debtors in and to the Assets should be
subject to approval by the Ontario Superior Court of Justice (the “Canadian Court”); (D) the
transfer of the rights, title and interests of NNSA in and to the Assets should be subject to
approval by the Supervisory Judge (juge commissaire) of the secondary insolvency proceedings
of NNSA commenced in the Republic of France on May 28, 2009, within the meaning of Article
27 of the EC Regulation 1346/2000 (the “Supervisory Judge”) and (E) the Transactions shall be
(i) submitted for approval by such other applicable court(s) as the Sellers, in consultation with
the Creditors’ Committee (as defined below), the Bondholder Group (as defined below) and the
Monitor (as defined below), may determine are necessary or appropriate and (ii) subject to such

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other closing conditions as are set forth in the Purchase Agreement with respect to the Purchaser,
or, as set forth in the relevant purchase agreement(s) with respect to a Successful Bidder.

On [date], the U.S. Debtors filed a Motion for Orders For Orders (I)(A) Authorizing
Debtors’ Entry Into The Stalking Horse Asset Sale Agreement, (B) Authorizing And Approving
The Bidding Procedures And Bid Protections, (C) Approving The Notice Procedures And The
Assumption And Assignment Procedures, (D) Approving The License Rejection Procedures, (E)
Authorizing The Filing Of Certain Documents Under Seal And (F) Setting A Date For The Sale
Hearing And (ID Authorizing And Approving (A) The Sale Of Certain Patents And Related
Assets Free And Clear Of All Claims And Interests, (B) The Assumption And Assignment Of
Certain Executory Contracts, (C) The Rejection Of Certain Patent Licenses And (D) The License
Non-Assignment And Non-Renewal Protections (the “Sale Motion”).

On [e], 2011, the Bankruptcy Court entered an Order approving, among other things, the
Bidding Procedures set forth herein and the payment, in certain circumstances, of the Break-Up
Fee and Expense Reimbursement (the “Bidding Procedures Order’).

On [e], 2011, the Canadian Debtors filed a motion with the Canadian Court seeking an
order for approval of (I) execution and delivery of the Purchase Agreement by the Canadian
Debtors, (II) payment of the Break-Up Fee and Expense Reimbursement in the circumstances
provided for in the Purchase Agreement, and (III) a process for the Sale of the Canadian
Debtors’ rights, title and interests in and to the Assets (as defined below).

On [e], 2011, the Canadian Court entered an Order approving, among other things, the
Bidding Procedures set forth herein and the payment, in certain circumstances, of the Break-Up
Fee and Expense Reimbursement (the “Canadian Sales Process Order”).

Bidding Process

The Bidding Procedures set forth herein describe, among other things, the assets available
for sale, the manner in which prospective bidders may gain access to or continue to have access
to due diligence materials concerning the Assets (as defined below), the manner in which bidders
and bids become Qualified Bidders (as defined below) and Qualified Bids (as defined below),
respectively, the receipt and negotiation of bids received, the conduct of any subsequent Auction
(as defined below), the ultimate selection of the Successful Bidder (as defined below), and the
Bankruptcy Court’s, the Canadian Court’s and, if required, such other applicable courts’
approval thereof (collectively, the “Bidding Process’). The Sellers intend to consult with, among
others, the Official Committee of Unsecured Creditors in connection with the chapter 11 cases of
Nortel Networks Inc., et al. (jointly administered under Case No. 09-10138) involving the U.S.
Debtors (the “Creditors” Committee”), the ad hoc group of bondholders holding claims against
certain of the U.S. Debtors and certain of the Canadian Debtors (the “Bondholder Group”), Ernst
& Young Inc., in its capacity as the Canadian Court-appointed monitor in connection with the
proceedings under the Companies’ Creditors Arrangement Act (the “Monitor”), the
Administrators in connection with the UK Proceedings, the French Liquidator and their
respective advisors throughout the Bidding Process. In the event that the Sellers and any party

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disagree as to the interpretation or application of these Bidding Procedures, the Canadian Court
and the Bankruptcy Court, jointly, will have jurisdiction to hear and resolve such dispute. !

Assets To Be Sold

The Sellers are offering for sale, in one or more Transactions, substantially all of the
Sellers’ patent assets and certain related assets, as described in the Purchase Agreement (to the
extent that such assets are not subsequently excluded from the sale in accordance with the terms
of the Purchase Agreement) with respect to the Purchaser, or, as set forth in the relevant sale or
purchase agreement(s) with respect to a Successful Bidder, and related schedules and in an
information memorandum made available by the Sellers to the Purchaser and other potential
bidders, and to be made available to other potential bidders that have executed a confidentiality
agreement with the Sellers (the “Assets’’).

“As Is, Where Is”

The sale of the Assets will be on an “as is, where is” basis and without surviving
representations or warranties of any kind, nature or description by the Sellers, their agents, or
estates, except, with respect to the Purchaser, to the extent set forth in the Purchase Agreement
or, with respect to a Successful Bidder (as defined below), to the extent set forth in the relevant
sale or purchase agreement(s) of such Successful Bidder.

Free Of Any And All Claims And Interests

All of the rights, title and interests of the Sellers in and to the Assets, or any portion
thereof, to be acquired will be sold (i) in the case of Assets that are transferred or assigned by
U.S. Debtors, free and clear of all Liens and Claims pursuant to sections 363 and 365 of the U.S.
Bankruptcy Code, (ii) in the case of Assets that are transferred or assigned by the Canadian
Debtors, free and clear of all Liens and Claims pursuant to the Canadian Approval and Vesting
Order, when granted, and (iii) in the case of Assets that are transferred or assigned by the EMEA
Sellers free and clear of all Liens, such Liens and Claims to attach to the net proceeds of the sale
of such Assets, except with respect to the Purchaser to the extent otherwise set forth in the
Purchase Agreement or, with respect to a Successful Bidder, to the extent otherwise set forth in
the relevant sale or purchase agreement(s) of such Successful Bidder with the Sellers.

Publication Notice

Within 5 (five) days of entry of orders by the Bankruptcy Court and the Canadian Court
approving these Bidding Procedures or as soon as practicable thereafter, the Sellers shall publish
notice of these Bidding Procedures, the time and place of the Auction (as defined below), the
time and place of the Sale Hearing (as defined below), and the objection deadline for the Sale
Hearing in The Financial Times (International Edition), The Wall Street Journal (National
Edition), The New York Times (National Edition) and The Globe & Mail (National Edition).

' For the avoidance of doubt, the Bidding Process shall not govern any disagreements among the Sellers.

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Participation Requirements

Unless otherwise ordered by both the Bankruptcy Court and the Canadian Court and
accepted by the Administrators, for cause shown, or as otherwise determined by the Sellers (in
consultation with the Creditors’ Committee, the Bondholder Group and the Monitor), in order to
participate in the Bidding Process, prior to the Bid Deadline (as defined below), each person
other than the Purchaser who wishes to participate in the Bidding Process, and in the event that
such person is an entity formed for the purpose of acquiring the Assets (or any portion thereof),
each actual or proposed holder of the equity (whether in the form of stock, partnership interests,
LLC interests, debt issued in connection with such person’s bid for the Assets or otherwise) or
proposed beneficiary of such person through license or similar arrangement granted in
connection with such person’s bid (each an “Equity Holder’), (each such person other than the
Purchaser who wishes to participate in the Bidding Process, and each Equity Holder thereof, a
“Potential Bidder”) must deliver to the Notice Parties (as defined below) at the addresses
provided below:

(a) an executed confidentiality agreement (to be delivered prior to the
distribution of any confidential information by the Sellers to such Potential Bidder) in
substance substantially the same as the confidentiality agreement (together with all
supplements and addenda thereto) executed by the Purchaser, mutatis mutandis,a nd
taking account of such Potential Bidder’s corporate or other organizational structure, and
otherwise in form and substance satisfactory to the Sellers, and which shall inure to the
benefit of any purchaser of the Assets. In the event that the Potential Bidder has already
entered into a confidentiality agreement with the Sellers, prior to the distribution of any
additional confidential information by the Sellers to such Potential Bidder, such Potential
Bidder must provide a statement (i) agreeing that,if the confidentiality agreement
(together with all supplements and addenda thereto) executed by the Purchaser contains
provisions that are more restrictive than the confidentiality agreement (together with all
supplements and addenda thereto) executed by such Potential Bidder, then the
confidentiality agreement (together with all supplements and addenda thereto) executed
by such Potential Bidder shall be deemed to be amended to contain such more restrictive
provisions, mutatis mutandis; (ii) agreeing that its obligations under such agreement shal!
inure to the benefit of any purchaser of the Assets; and (iii) waiving any of its rights
under such confidentiality agreement that are in conflict with the Bidding Procedures or
that would otherwise prohibit disclosures regarding the Potential Bidder, or any
Transactions it may enter into, to the Notice Parties and other Qualified Bidders who
submit a Qualified Bid (each as defined below);

(b) current audited financial statements and latest unaudited financial
statements of the Potential Bidder or such other form of financial disclosure and credit-
quality support or enhancement that will allow the Sellers and their respective financial
advisors, in consultation with the Creditors’ Committee, the Bondholder Group and the
Monitor, to make a reasonable determination as to the Potential Bidder’s financial and
other capabilities to consummate the Transactions; and

(c) a statement demonstrating to the Sellers’ satisfaction, a bona fide interest
in purchasing the Assets from the Sellers including: (i) the purchase price (including
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liabilities to be assumed by the Potential Bidder); (ii) any Assets expected to be excluded;
(iii) the structure and financing of the Transactions (including, but not limited to, the
sources of financing for the purchase price and all requisite financial assurance); (iv) any
anticipated corporate, stockholder, internal or regulatory approvals required to close the
Transactions, the anticipated time frame and any anticipated impediments for obtaining
such approvals; (v) the proposed number of employees of the Sellers who will become
employees of the Potential Bidder (save in jurisdictions where employees transfer by
operation of law), and any proposed measures associated with the continued employment
of all employees who will become employees of the Qualified Bidder; and (vi) any
conditions to closing that the Potential Bidder may wish to impose in addition to those set
forth in the Purchase Agreement.

A Potential Bidder (i) that has delivered the documents described above, (ii) whose
financial information and credit quality support or enhancement demonstrate in the Sellers’
judgment, after consultation with their counsel and financial advisors, the Creditors’ Committee,
the Bondholder Group and the Monitor, the financial capability of the Potential Bidder to
consummate the Transactions, (iii) that has submitted a reasonably competitive and realistic non-
binding proposal, as described above, (iv) that has delivered executed confidentiality
agreement(s), as described above, and (v) that the Sellers determine in their reasonable business
judgment, after consultation with their counsel and financial advisors, the Creditors’ Committee,
the Bondholder Group and the Monitor, is likely (based on availability of financing, experience
and other considerations) to be able to consummate the Transactions, will be deemed a
“Qualified Bidder”. The Sellers will determine, in their reasonable business judgment, after
consultation with the Creditors’ Committee, the Bondholder Group, the Administrators and the
Monitor, whether to entertain bidders for the Assets that have not met one or more of the
requirements specified above and deem such bidders to be Qualified Bidders.

As promptly as practicable after a Potential Bidder delivers all of the materials required
above, the Sellers will determine, in consultation with the Creditors’ Committee, the Bondholder
Group and the Monitor, and will notify the Potential Bidder, if such Potential Bidder is a
Qualified Bidder. At the same time that the Sellers notify the Potential Bidder that it is a
Qualified Bidder, the Sellers will allow the Qualified Bidder to begin or continue to conduct due
diligence with respect to the Assets as provided in the following paragraph.

Due Diligence

The Sellers may in their reasonable business judgment, and subject to competitive
and other business considerations, afford each Qualified Bidder and any person seeking to
become a Qualified Bidder that has executed confidentiality agreement(s) of the type described
in clause (a) under the heading “Participation Requirements” with the Sellers such due diligence
access to materials and information relating to the Assets as the Sellers deem appropriate after
consultation with the Creditors’ Committee, the Bondholder Group and the Monitor. Due
diligence access may include management presentations as may be scheduled by the Sellers,
access to electronic data rooms, on-site inspections, and other matters which a Qualified Bidder
may reasonably request and as to which the Sellers, in their reasonable business judgment, may
agree. The Sellers will designate an employee or other representative to coordinate all
reasonable requests for additional information and due diligence access from Qualified Bidders.

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No additional due diligence for any party other than a Qualified Bidder who has submitted a
Qualified Bid will continue after the Bid Deadline (as defined below). The Sellers may, in their
discretion, coordinate diligence efforts such that multiple Qualified Bidders have simultaneous
access to due diligence materials and/or simultaneous attendance at management presentations or
site inspections. In any event, the Purchaser shall be provided access to all due diligence
materials, management presentations, on-site inspections and other information provided to any
Qualified Bidders that were not previously made available to the Purchaser as soon as
commercially practicable and in no event later than two (2) Business Days after the date that the
Sellers made such information available to any such Qualified Bidder. Neither the Sellers nor
any of their affiliates (or any of their respective representatives) will be obligated to furnish any
information relating to the Assets to any person other than to Qualified Bidders. The Sellers
make no representation or warranty as to the information to be provided through this due
diligence process or otherwise, except to the extent set forth in the Purchase Agreement or in any
other definitive agreement(s) with any Successful Bidder executed and delivered by Sellers.

Bid Deadline

A Qualified Bidder that desires to make a bid will deliver written copies of its bid to the
following parties (collectively, the “Notice Parties’): (i) Nortel Networks Limited and Nortel
Networks Inc., c/o Nortel Networks Limited, Attn: Anna Ventresca, Esq., 5945 Airport Road,
Suite 360, Mississauga, Ontario L4V 1R9, Facsimile: (905) 863-1984; (ii) U.S, Debtors’
counsel: Cleary Gottlieb Steen & Hamilton LLP, Attn: James L. Bromley and Lisa M.
Schweitzer, One Liberty Plaza, New York, New York 10006, Facsimile: (212) 225-3999; (iii)
U.S. Debtors’ counsel: Morris, Nichols, Arsht & Tunnell LLP, Attn: Derek C. Abbott, 1201
North Market Street, Wilmington, Delaware 19801, Facsimile: (302) 658-3989; (iv) Canadian
Debtors’ counsel: Ogilvy Renault LLP, Attn: Derrick C. Tay and Jennifer Stam, Royal Bank
Plaza, South Tower, Suite 3800, 200 Bay Street, Toronto, Ontario, Canada, Facsimile: (416)
216-3930; (v) Sellers’ financial advisors: Lazard Fréres & Co., Attn: David Descoteaux, 30
Rockefeller Plaza, New York, NY 10020, Facsimile: (212) 830-3395; (vi) Sellers’ advisors:
Global IP Law Group, LLC, 233 South Wacker Drive, Suite 8400, Chicago, IL 60606,
Fascimile: (312) 283-8026 Attn: David Berten, (vii) counsel to the Creditors’ Committee: Akin
Gump Strauss Hauer & Feld LLP, Attn: Fred 8. Hodara, Stephen B. Kuhn, David H. Botter and
Kenneth A. Davis, One Bryant Park, New York, New York 10036, Facsimile: (212) 872-1002;
(viii) financial advisor to the Creditors’ Committee: Jefferies & Company, Inc., Attn: General
Counsel, Investment Banking, 520 Madison Avenue, New York, New York, Facsimile: (212)
284-2280; (ix) counsel to the Bondholder Group: Milbank, Tweed, Hadley & McCloy, Attn:
Roland Hlawaty, One Chase Manhattan Plaza, New York, New York, 10006, Facsimile: (212)
822-5735; (x) the Monitor: Murray A. McDonald, Ernst & Young Inc., Ernst & Young Tower,
222 Bay Street, P.O. Box 251, Toronto, ON MSK 1J7 Canada, Facsimile: (416) 943-3300; (xi)
the Administrators: Ernst & Young LLP, Attn: Christopher Hill and Robin Jowitt, 1 More Place,
London SE] 2AF, United Kingdom, Facsimile +44 20 7951 9002; (xii) counsel to the
Administrators: Herbert Smith LLP, Attn: Alex Kay and Robert Moore, Exchange House,
Primrose Street, London, EC2A 2HS, Facsimile: +44 20 7098 4447 and + 44 20 7098 4918;
(xiii) the French Liquidator: 26 avenue Hoche, 78000 Versailles, France, Facsimile: + 33 1 39
49 44 63, Attn: Cosme Rogeau; and (xiv) Counsel to the French Liquidator: Foucaud, Tchekhoff,
Pochet & Associés, lbis, avenue Foch, 75116 Paris, France Facsimile: + 33 1 45 00 08 19, Attn:

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Rajeev Sharma-Fokeer & Edouard Fabre, so as to be received not later than June 13, 2011 at
4:00 p.m. (ET) by the Sellers (as may be extended as set out below, the “Bid Deadline”). The
Sellers, after consultation with the Creditors’ Committee, the Bondholder Group and the
Monitor, may extend the Bid Deadline once or successively, but they are not obligated to do so;
provided that for any such extension beyond five (5) Business Days, the Sellers shall have
obtained the written consent of the Creditors’ Committee, the Bondholder Group and the
Monitor, which consent will not be unreasonably withheld. Ifthe Sellers extend the Bid
Deadline, they will promptly notify all Qualified Bidders (including the Purchaser) and the
parties listed above of such extension.

Qualified Bid

A bid, other than the Purchase Agreement, submitted will be considered a Qualified Bid
only if the bid is submitted by a Qualified Bidder, pursuant to the previous paragraph and
complies with all of the following (a “Qualified Bid”):

(a) it states that the applicable Qualified Bidder offers to purchase the Assets
upon the terms and conditions substantially as set forth in the Purchase Agreement,
including without limitation, with respect to certainty and timing of closing, or pursuant
to an alternative structure (including without limitation, an offer conditioned upon
confirmation of a plan of reorganization proposed by the U.S. Debtors and/or a plan of
arrangement approved by one or more of the Canadian Debtors and the Monitor, in each
case, either individually or in collaboration with such Qualified Bidder), or upon
alternative terms and conditions that the Sellers reasonably determine, after consultation
with the Creditors’ Committee, the Bondholder Group and the Monitor, are no less
favorable than the terms and conditions of the Purchase Agreement.

(b) it includes a letter stating that the Qualified Bidder’s offer is irrevocable
until the selection of the Successful Bidder and, if applicable, the Alternate Bidder (as
defined below), provided that if such Qualified Bidder is selected as the Successful
Bidder or the Alternate Bidder, its offer shall remain irrevocable until the earlier of (i)
closing of the Sale to the Successful Bidder or the Alternate Bidder, and (ii) (x) with
respect to the Successful Bidder only, 180 days from the Sale Hearing, subject to further
extensions as may be agreed to under the applicable purchase agreements and (y) with
respect to the Alternate Bidder only, the Alternate Bid Expiration Date (as defined
below); provided further that, notwithstanding anything to the contrary provided herein,
in no event shall the Purchaser be required to serve as an Alternate Bidder without its
consent, in its sole discretion;

(c) it includes a duly authorized and executed Purchase Agreement, including
the purchase price for the Assets expressed in U.S. Dollars (the “Purchase Price”)
together with all exhibits and schedules thereto, the ancillary agreements as described in
the Purchase Agreement and such additional ancillary agreements as may be required by
the Qualified Bidder with all exhibits and schedules thereto (or term sheets that describe
the material terms and provisions of such agreements), as well as copies of such materials
marked to show those amendments and modifications to the Purchase Agreement
(“Marked Agreements”) and such ancillary agreements (the “Marked Ancillary

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Agreements”) (in each case to the extent applicable) and the proposed orders to approve
the Sale by the Bankruptcy Court, the Canadian Court and any other applicable court(s)
whose approval may be required, proposed by the Qualified Bidder;

(d) it includes written evidence of a firm, irrevocable commitment for
financing, or other evidence of ability to consummate the proposed transaction, that will
allow the Sellers, in consultation with the Creditors’ Committee, the Bondholder Group
and the Monitor, to make a reasonable determination as to the Qualified Bidder’s
financial and other capabilities to consummate the transaction contemplated by the
Marked Agreements;

(e) it is not conditioned on (i) the outcome of unperformed due diligence by
the Qualified Bidder and/or (ii) obtaining financing;

(f) it fully discloses the identity of each entity that will be bidding for the
Assets or otherwise sponsoring, financing (including through the issuance of debt in
connection with such bid), participating in or benefiting from (including through license
or similar arrangement with respect to the assets to be acquired in connection with such
bid) such bid, and the complete terms of any such sponsorship, participation, financing or
benefit, such disclosure to include, without limitation, (i) in the case of a Qualified
Bidder formed for the purpose of acquiring the Assets (or any portion thereof), the
identity of each of the actual or proposed Equity Holders of such Qualified Bidder and
the terms and participation percentage of such Equity Holder’s interest in such bid and
(ii) the identity of each entity that has or will receive a benefit from such bid from or
through the Qualified Bidder or any of its Equity Holders and the terms of such benefit;

(g) it has a value to the Sellers, in the Sellers’ reasonable business judgment,
after consultation with their financial advisors, the Creditors’ Committee, the Bondholder
Group and the Monitor, that either individually or, when evaluated in conjunction with
any other Qualified Bid for the Assets, is greater than or equal to the sum of the value
offered under the Purchase Agreement, plus the Break-Up Fee plus U.S. $4 million
(representing the Expense Reimbursement); provided that, in determining such value, the
Sellers will not be limited to evaluating the dollar amount of a competing bid, but may
also consider factors including those described under the “Evaluation of Competing
Bids” section hereof;

(h) it includes an acknowledgment and representation that the Qualified
Bidder will assume the Sellers’ obligations under the executory contracts and unexpired
leases proposed to be assigned pursuant to the Purchase Agreement (or identifies with
particularity which of such contracts and leases the Qualified Bidder wishes not to
assume, or alternatively which additional executory contracts or unexpired leases the
Qualified Bidder wishes to assume), contains full details of the Qualified Bidder’s
proposal for the treatment of related cure costs, and identifies with particularity any
executory contract or unexpired lease the assumption and assignment of which is a
condition to closing;
